
Kirkpatrick, C. J.
The first reason assigned for the reversal of this judgment is, that there was no copy of account or state of demand filed before the justice, and this appears manifest from the return.
■ There is, it is true, a copy of account handed up with the papers, but that copy could not have been filed before the 16th June, 1806, because it carries up the calculation of interest till that day; whereas, the summons was returnable on the 24th day of May, 1806, and the issue joined and’the *3venire issued on the 7th of June in the same year. This copy of account therefore, could not have been filed in due season. Indeed, how it came to be among the papers at all is very uncertain. It is not certified by the justice, nor marked as filed, nor in any way mentioned in the docket. The other judges concurred.
Judgment reversed.
Anderson, att’y for plaintiff.
